           Case: 3:24-cr-50050 Document #: 2 Filed: 12/12/24 Page 1 of 5 PageID #:2


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Case: 3:24-cr-50050 Document #: 2 Filed: 12/12/24 Page 2 of 5 PageID #:3
Case: 3:24-cr-50050 Document #: 2 Filed: 12/12/24 Page 3 of 5 PageID #:4
Case: 3:24-cr-50050 Document #: 2 Filed: 12/12/24 Page 4 of 5 PageID #:5
Case: 3:24-cr-50050 Document #: 2 Filed: 12/12/24 Page 5 of 5 PageID #:6
